                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO

CLEVELAND BROWNS FOOTBALL        :
COMPANY, LLC,                    :         Case No. 1:24-cv-01857
                                 :
                Plaintiff,       :         Judge David A. Ruiz
                                 :
     vs.                         :
                                 :
THE CITY OF CLEVELAND, et al.    :
                                 :
                Defendants.      :




             THE STATE OF OHIO’S OPPOSITION TO PLAINTIFF’S
              MOTION TO FILE SECOND AMENDED COMPLAINT
   I.       INTRODUCTION

         More is not always better. Though the Browns are back with a third version of the complaint,

seeking to add facts and parties, they still run headlong into the same problems faced by versions one

and two. First, they are still seeking a declaration under Ohio law that is dispositive of their proposed

federal claims. If they are correct that their actions neither “trigger or violate the Modell Law” this

entire dispute is over and there is no reason to reach their federal claims. Pullman.still applies and

this Court should abstain. Second, even if this Court were to reach the federal claims that this new

group of Plaintiffs seek to bring, for the reasons set forth in the fully-briefed Motions to Dismiss, they

would still fail. Amending the complaint to permit claims that must ultimately be dismissed is futile.

The Motion to Further Amend the Complaint should be denied on that basis.

         In the alternative, if this Court is inclined to give the Plaintiffs yet another shot, this case

should be stayed pending the outcome of the state court case. Once again, an Ohio Court should be

permitted to decide the dispositive—and novel—issues of Ohio law that Plaintiffs raise. If the

Browns have confidence in their claim that their actions neither trigger nor violate the Modell Law,

they should not object to a stay.

   II.      BACKGROUND

         The proposed Second Amended Complaint seems to add two things: parties and background.

Beginning with parties, the Cleveland Browns Football Company, LLC, which owns and operates the

Cleveland Browns NFL Franchise, again seeks to bring claims (“Browns Football Company”). Doc.

No. 30-1 Second Amended Complaint, ¶ 8 (“Sec. Am. Compl.”) Now, so too does the Cleveland

Browns Stadium Company (“Browns Stadium Company”), JHAC, LLC, which owns both the

Browns Football Company and the Browns Stadium Company, and Haslam Sports Group, which is

the managing member of JHAC, LLC. Id. ¶¶ 9-11 (collectively, to include the Browns Football



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Company, “Proposed Plaintiffs”). The Proposed Plaintiffs seek to bring their claims against the City

of Cleveland (“City”) and a new defendant, Mark Griffin, the City’s Law Director. Id. ¶ 13.

       Turning to the Background, the Second Amended Complaint lays out the history behind the

City’s 1973 lease with the Cleveland Browns. Id. ¶¶ 18-21. That lease was still in effect in 1995

when then-owner Art Modell sought to move the Team to Baltimore. Id. It is on that distinction that

the Proposed Plaintiffs seem to hinge their claims. Id. ¶ 38. They are owners who “act nothing like

Modell”, and the Modell Law has never been applied to a situation like theirs. Id. Of course, these

allegations only underscore the point that how Ohio law applies to the current situation is a threshold

issue that triggers Pullman.

       Leaving that aside, the Second Amended Complaint lays out the litigation that ensued when

Art Modell threatened to move to Baltimore, as well as how it settled. Id. ¶¶ 21-35. Ultimately,

Modell was permitted to move the existing Browns franchise to Baltimore but was required to

surrender the Browns’ name and records to the new NFL franchise in Cleveland. Id. ¶ 23. In return,

the City was required to build, with funding from the NFL, a new stadium (“Stadium”) to be leased

by the new Browns Franchise for thirty years. Id.     None of the Proposed Plaintiffs were a party to

the settlement agreement, the Lease between the City and the NFL, or any of the other agreements

which kept the Browns NFL franchise in Cleveland. Id.; and see Id., Exhs. A and B.

       The Lease and the Franchise Commitment Agreement were signed by the NFL and the City

on June 12, 1996. Id., Exhs. A and B. Though the proposed Second Amended Complaint alleges that

the Lease was dated April 26, 1996, its terms provide that did not become effective until “the last of

its executions”. Id., Exh. A, p. 80 § 43. The last person to execute the Lease was then-Cleveland

Mayor Michael R. White, who signed on June 12, 1996. Id., p. 85.

       Ohio Revised Code § 9.67, known as the “Art Modell Law” was passed in reaction to Modell’s

attempt to move the Browns from Cleveland to Baltimore. Id. ¶ 36. It was passed by the 121st General

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Assembly in a Supplemental Appropriations Bill on May 30, 1996. See Attachment A, 146 Ohio

Laws, Part VI, 11560, 11824–25 (June 20, 1995). Because it was passed in an appropriations bill, it

went into effect immediately.        Id.; see also, Ohio Const. Art. II, §1d (“Laws providing

for…appropriations for the current expenses o the state government and state institutions…shall go

into immediate effect.”). It provides:

       No owner of a professional sports team that uses a tax-supported facility for most
       of its home games and receives financial assistance from the state or a political
       subdivision thereof shall cease playing most of its home games at the facility and
       begin playing most of its home games elsewhere unless the owner either:

       (A) Enters into an agreement with the political subdivision permitting the team to play most
           of its home games elsewhere;

       (B) Gives the political subdivision in which the facility is located not less than six months’
           advance notice of the owner’s intention to cease playing most of its home games at the
           facility and, during the six months after such notice, gives the political subdivision or any
           individual or group of individuals who reside in the area the opportunity to purchase the
           team.

Ohio Rev. Code § 9.67. After the Modell Law passed, the City built the Stadium and in 1998 Al

Lerner acquired the new Browns Franchise. Id. ¶ 39.

       The Haslam family acquired the Team in 2012. Id. In the Second Amended Complaint the

Proposed Plaintiffs allege that the Stadium Company, which the Haslam Family owns, “is a party to

a lease” of HBF Field from the City. Id. ¶ 9. But they do not allege that any are a party to “the

Lease”, which is defined in paragraph 25 as being the original Lease by Way of Concession executed

by the NFL. Id. ¶ 25; and see Id., Exh. A. Instead, they claim that the new Browns Franchise, owned

by Al Lerner, assumed the Lease when he acquired the Team in 1998. Id. ¶ 39. Thus, it appears that

the Stadium Company’s “lease” referred to in paragraph 9 of the Second Amended Complaint is

different than the “Lease” referred to in paragraph 25 and attached as Exhibit A.

       The proposed Second Amended Complaint provides more detail regarding the Haslam family,

their businesses, dedication to the community and their relationship with the City. It is fair to say that

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in recent years, much of that relationship has centered on whether the Browns would stay in

downtown Cleveland or move to Brook Park. Id. ¶¶ 40-72. When the Haslams determined that

remaining in downtown was not practical and announced their intent to focus on moving to Brook

Park, the City threatened to apply the Modell Law to the Browns. Id. ¶¶ 72-79. The result was this

case and the state court case filed by the City and pending in the Cuyahoga County Court of Common

Pleas. City of Cleveland v. Haslam Sports Group, LLC, et al., Cuyahoga County Common Pleas

Court Case No. CV-25-110189 (Moore, J.), filed January 14, 2025. Now, the Browns seek to amend

their complaint for the third time. But the addition of parties and facts do not help this case clear its

many hurdles, the first of which is Pullman abstention. Ultimately, the proposed amendment would

be futile and should be denied on that basis. In the alternative, if the amendment is granted this case

should be stayed so that the state court can be permitted to answer the dispositive question of Ohio

law that the Proposed Plaintiffs pose: how can the Modell possibly apply to the Haslams? Id. ¶ 74.

    III.      LAW AND ARGUMENT

           While leave to amend a pleading “shall be freely given ‘when justice so requires[,]” a district

court may deny leave to amend if the proposed amendment would be futile. Smith v. City of Memphis,

2021 U.S. App. LEXIS 1825*4 (6th Cir.) (quoting Moss v. United States, 323 F.3d 445, 476 (6th Cir.

2003) (quoting Fed. R. Civ. P. 15(a). “[F]utility of amendment…is simply defined as an amendment

to the complaint that would not survive a [Rule 12(b)(6)] motion to dismiss.” 500 Assocs. v. Vt. Am.

Corp., 496 Fed. App’x 589, 593 (6th Cir. 2012) (citing Riverview Health Inst. LLC v. Medical Mut. of

Ohio, 601 F.3d 505, 512 (6th Cir. 2010). To survive a motion to dismiss under Rule 12(b)(6), “a

complaint must allege sufficient facts that, accepted as true, ‘state a claim to relief that is plausible on

its face.’” Strayhorn v. Wyeth Pharms., Inc., 737 F.3d 378, 387 (6th Cir. 2013) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff



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pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Though the proposed Second Amended Complaint adds parties and facts, none of the additions

can salvage this case. It still suffers the same defects as the First Amended Complaint. First, issues

of state law are dispositive of the Proposed Plaintiffs’ federal claims and Pullman abstention applies.

Second, because none of the newly added Plaintiffs were party to a contract that the Modell Law

could have conceivably impaired when it was passed, their Contract Clause claims still fail. Third,

the Proposed Plaintiffs raise the same vagueness challenge from the First Amended Complaint that

are subject to dismissal. Rather than fix their initial deficiencies, the Proposed Plaintiffs instead

confuse questions of how the Modell Law applies to their situation with whether it is vague. There

is no reason to amend a complaint for the third time to still be left with one that fails to state a

cognizable claim. The Motion to Amend should be denied as futile.

   1. Pullman abstention still applies to the Second Amended Complaint.
       Rather than have confidence in their state law claim that their actions neither “trigger nor

violate” the Modell Law, the Proposed Plaintiffs double down on their efforts to avoid Ohio courts.

But “when a federal constitutional claim is premised on an unsettled question of state law, the federal

court should stay its hand in order to provide the state court an opportunity to settle the underlying

state-law question and thus avoid the possibility of unnecessarily deciding a constitutional question.”

Harris County Comm’rs Court v. Moore, 420 U.S. 77, 83 (1975) (citing Railroad Comm’n v. Pullman

Co., 312 U.S. 496 (1941)). “If the state courts would be likely to construe the statute in a fashion that

would avoid the need for a federal constitutional ruling or otherwise significantly modify the federal

claim, the argument for abstention is strong.” Harris, 420 U.S. at 84; GTE North, Inc. v. Strand, 209

F.3d 909, 921 (6th Cir. 2000).



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       When determining whether to apply Pullman abstention, the Sixth Circuit asks two questions:

1) whether an unclear state law exists; and 2) the likelihood that the state court’s decision on the state

law issue would “obviate the necessity for a decision of the federal constitutional question or

substantially modify the constitutional issue.” Tyler v. Collins, 709 F.2d 1106, 1108 (6th Cir. 1983)

(quoting 1A Moore’s Federal Practice P0.203[1] (1982)). “If the state courts would be likely to

construe the statute in a fashion that would avoid the need for federal constitutional ruling or

otherwise significantly modify the federal claim, the argument for abstention is strong.” Harris, 420

U.S. at 84; GTE North, Inc. v. Strand, 209 F.3d 909, 921 (6th Cir. 2000).

       Though there are more of them now, the Proposed Plaintiffs seek the same state law

declaration sought in the First Amended Complaint: “that any action by the Browns to cease playing

most of their home games at Huntington Bank Field after their existing lease of that facility expires

does not trigger or violate the Modell Law.” Compare, Sec. Am. Compl., ¶¶ 119-122, and First Am.

Compl., ¶¶ 122-131. If they are correct on their question of state law, the federal claims fall away.

The case pending in the Cuyahoga County Court of Common Pleas will decide whether they are.

       Rather than allow the Ohio court to decide this case of first impression under Ohio law, the

Browns redouble their efforts to avoid that result. They moved to stay the state court proceeding “in

favor of” this federal case. City of Cleveland v. Haslam Sports Group, LLC, et al., Cuyahoga County

Common Pleas Court Case No. CV-25-110189, Defendants’ Motion to Stay the Action, or in the

Alternative, Dismiss the Complaint, filed March 18, 2025. They have it backwards. Pullman firmly

establishes that an Ohio court should decide the novel issues of Ohio law. This is especially true here,

where those issues are teed up and ready to proceed, but for the Plaintiffs’ own attempt to delay.

   2. None of the Proposed Plaintiffs had a contract to impair.

   Leaving aside abstention, the proposed Second Amended Complaint does not fix the Contract

Clause claim. That is, even with the additional plaintiffs and history, timing is still fatal. The Second

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Amended Complaint still fails to identify a single contract to which any of the Proposed Plaintiffs

were a party when the Modell Law was passed.

       Article I, Section 10 of the United States Constitution prevents the State from passing laws

that impair the obligation of contracts. “When assessing a claim under the contracts clause, the first

step is to determine ‘whether the state law has, in fact, operated as a substantial impairment of a

contractual relationship.’” Home-Owners, Inc. v. Boxer, 2024 U.S. App. LEXIS 26426 *20 (quoting

Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244, 98 S.Ct. 2716, 57 L.Ed.2d 727 (1978)).

The question is “whether there is a contractual relationship, whether a change in law impairs that

contractual relationship, and whether the impairment is substantial.” General Motors Corp. v.

Romein, 503 U.S. 181, 186 (1992).

       Importantly, it is impossible for a statute to unconstitutionally impair a contract that did not

exist when the statute was enacted. See Texaco, Inc. v. Short, 454 U.S. 516, 531, (1982). Parties

contract against the backdrop of the applicable law and “[t]he laws which subsist at the time and place

of the making of a contract” form a part of it, even if not “expressly referred to or incorporated in its

terms.” Home Bldg. & Loan Asso. v. Blaisdell, 290 U.S. 398, 429-30 (1934). “[C]ourts only consider

whether the law impaired vested contract rights.” Home-Owners Ins., 2024 U.S. App. LEXIS

26426*21 (emphasis in original). Considering this question, the relevant timeline is as follows:

           •   May 30, 1996 the 121st General Assembly passes Ohio Rev. Code § 9.67, which
               became immediately effective;
           •   June 12, 1996 Lease by way of Conversion (“Lease”) between the City and the NFL
               effective, Sec. Am. Compl, Exh. A;
           •   June 12, 1996 Franchise Commitment Agreement between the City and the NFL
               effective, Id., Exh. B;
           •   1998 Al Lerner acquires the new Browns Franchise and assumed the Lease, Id. ¶ 19
           •   2012 the Haslam family acquired the Browns. Id. ¶ 40.




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None of the Proposed Plaintiffs were a party to the Lease when the Modell Law passed. Neither was

the NFL. It did not sign the Lease or the Franchise Commitment Agreement until June 12, 1996. See

Id., Exhs. A and B. As far as timing, the Second Amended Complaint fares no better than the first.

       Even if timing were not dispositive, the Contracts Cause claim would still fail because the

Second Amended Complaint does not allege any facts to support the conclusion that any contracts are

or will be impaired impaired. To the contrary- the gist of the Proposed Plaintiffs’ argument is that

they intend to fulfill all terms of the Lease, and under those circumstances the Modell Law does not

apply. Said differently, they assert their intention to comply with all contractual requirements, and

do not allege that anything is impairing their ability to do so.

       Finally, the Second Amended Complaint errs by focusing on the wrong question. On its own,

Ohio Rev. Code § 9.67 does not impose any obligations on anyone. The requirements of the Statute

come into play only when the owner of a professional sports team “receives financial assistance from

the state or a political subdivision.” It is the owner’s choice to accept public money that gives rise

obligations under that statute. The relevant question is therefore whether Proposed Plaintiffs chose

to accept public funds at any time after the statute’s enactment. That is a question that the Second

Amended Complaint does not address, and its silence on that point is telling.

   3. Plaintiffs’ Commerce Clause Claim still fails.

       For the same reasons that the Plaintiffs’ dormant Commerce Clause claim fails, so too would

the Proposed Plaintiffs’ Commerce Clause claim. The Commerce Clause “prevents States from

discriminating ‘against the citizens and products of other States[.]’” Tenn. Wine & Spirits Retailers

Ass’n v. Thomas, 588 U.S. 504, 523, 139 S.Ct. 2449, 204 L.Ed.2d 801 (2019) (quoting Walling v.

Michigan, 116 U.S. 446, 460, 6 S.Ct. 454, 29 L.Ed. 691 (1886) “Under the modern approach to the

dormant Commerce Clause, a law’s validity largely depends on whether it discriminates against out-

of-state businesses in favor of in-state ones.” Truesdell v. Friedlander, 80 F.4th 762, 764 (6th Cir.

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2023) (citing Nat’l Pork Producers, 598 U.S. 356). The legal inquiry is divided into two steps.

Truesdell, 80 F.4th at 768 (citing C & A Carbone, Inc. v. Town of Clarkstown, 511 U.S. 383, 390

(1994); and Foresight Coal Sales, LLC v. Chandler, 60 F.4th 288, 295 (6th Cir. 2023). Step one is to

“ask whether a challenged state law “discriminates” against out-of-state economic interests to benefit

local economic interests.” Truesdell, 80F.4th at 768. If it does not discriminate, step two is to ask

“whether it nevertheless inflicts a ‘substantial harm’ on interstate commerce.” Id.

       First, Ohio Rev. Code § 9.67 does not discriminate on its face. Id. It neither mentions nor

restricts who may purchase a team. Nor does it exclude who may have the “opportunity to purchase.”

Instead, Ohio Rev. Code § 9.67 treats out-of-state purchasers, in-state purchasers that are not from

the area, the political subdivision, and investors in the area identically. The only point is that the

political subdivision that expended taxpayer money, as well as investors in the area, must be given

the same chance as everyone else. They are in the running, but no one else is removed from it.

       That is why the identical argument was rejected in the only other case to consider a Commerce

Clause challenge to the Modell Law. See State of Ohio ex rel. Ohio Attorney General Mike DeWine,

et al. v. Precourt Sports Ventures, LLC, et al. Franklin County Common Pleas Court Case No. 18-CV-

001864 (Brown, J.) (Dec. 3, 2018 Order denying Motion to Dismiss). There the court noted that

“nothing in the plain text of Ohio Rev. Code § 9.67 excludes those from outside of Ohio to also

participate in the same opportunity” as those from inside Ohio. Id. Rather “[t]he only residency

distinction in Ohio Rev. Code § 9.67 is to at least give local purchasers the opportunity to buy the

team, the same opportunity afforded to out-of-state purchasers.” Id. The court then correctly

concluded that the Statute is not facially discriminatory and does not favor in-state businesses to the

detriment of those from out-of-state. Id. at 34.

       Given that Ohio Rev. Code § 9.67 does not discriminate between in-state and out-of-state

businesses, the next question is “whether it nevertheless inflicts a ‘substantial harm’ on interstate

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commerce.” Truesdell, 80 F.4th at 768 (citing Nat’l Pork Producers, 143 S.Ct. at 1162-63 (plurality

opinion)). A statute that appears facially neutral may still discriminate against interstate commerce

in its operation. Id. at 770. But “a court must not confuse a law that has only a disparate impact on

out-of-state businesses for one that has discriminatory effects on interstate commerce.” Id. at 771.

Disparate impact alone is not enough. Id. (citing Exxon Corp. v. Governor of Md., 437 U.S. 117, 126

(1978)). Instead, “a facially neutral law has a discriminatory effect if it gives in-state entities a

‘competitive advantage’ that will lead consumers to shift market share to those entities.” Truesdell,

80 F.4th at 770.

       A law may still violate the Commerce Clause if “its interstate ‘burden[s]’ ‘clearly’ exceed its

‘local benefits’ under a benefits-burdens balancing test that the Supreme Court adopted in Pike.” Id.

at 768 (quoting Pike v. Bruce Church, 397 U.S. 137, 142 (1970)). The United States Supreme Court’s

controlling plurality opinion in Nat’l Pork Producers recently imposed important constraints on the

Pike balancing test. Truesdell, 80 F.4th at 768 (citing Nat’l Pork Producers, 143 S.Ct. at 1161-64).

Now, courts “should not even attempt to quantify a state law’s local ‘benefits’ or compare those

benefits to the law’s costs unless the challenger has first shown that the law inflicts ‘substantial

burdens’ on interstate commerce[.]’” Truesdell, 80 F.4th at 768 (quoting Nat’l Pork Producers, 143

S.Ct. at 1161). Even then, the court should consider only the interstate commerce burdens, not the

costs allegedly incurred by specific businesses. Truesdell, 80 F.4th at 768.

       The Second Amended Complaint still asserts nothing more than the conclusory allegation that

the Modell Law “places excessive burdens on interstate commerce without advancing any legitimate

local interest.” Sec. Am. Compl. ¶ 91. But that is all it alleges. The Proposed Plaintiffs do not allege

any facts to support the conclusion that the Modell Law substantially burdens all of interstate

commerce, as they must under Fed. Civ. R. 12(b)(6). See Nat’l Pork Producers, 598 U.S. at 385. But

there is no more to allege, because Ohio Rev. Code § 9.67 does not give in-state entities (such as the

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Proposed Plaintiffs) anything that is unavailable to out-of-state entities. At most, it levels the

“opportunity” playing field between the City, investors in the area, and every other possible in- or

out-of-state purchaser. But it does not give the City, or anyone else, purchaser selection rights.

       The Modell Law impacts only a small subset of specific businesses – professional sports teams

in Ohio that play a majority of their home games in a tax-supported facility and receive financial

assistance from the state or a political subdivision, that want to relocate and play the majority of their

games somewhere other than the taxpayer-supported facility. This limited reach falls far short of the

impact on all interstate commerce which is required to sustain a Commerce Clause challenge after

Nat’l Pork Producers’ limited Pike. See Truesdell, 80 F.4th at 773 (citing Nat’l Pork Producers, 43

S.Ct. at 1161-64 (plurality opinion)). Rather than regulate interstate commerce the Statute imposes

easily avoidable conditions upon those who voluntarily accept (and often lobby for) taxpayer money

to support their private business. The Commerce Clause is neither triggered nor violated.

       But even if the Second Amended Complaint alleged a substantial impact on interstate

commerce, the Modell Law’s benefits easily outweigh any cost. The Statute protects not just the

initial investment, but the promise of down-the-road benefits which justified the initial taxpayer

support. See Precourt at 39 (recognizing that a sports franchise is of significant value to the public

and to the well-being of the community). For example, the Proposed Plaintiffs tout the benefits of a

domed stadium in Cleveland and the Brook Park option. Sec. Am. Compl. ¶ 56 (stating “a dome

multiplies by several times the economic impact and tax revenues a stadium can generate”); Id. ¶ 60

(stating “state and local revenues from additional year-round use of the [Brook Park] stadium beyond

Browns games—projected to be more than $6.3 billion over a thirty-year lease term—will enable

construction of a world-class sports facility that in time will pay for itself.”). They are correct on

both fronts. Both options drive economic development. The point is that when public money is

invested to drive economic activity, the political subdivision that made the investment gets the chance

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to protect not only the initial investment, but the promise of future benefits which justified the initial

outlay. The burden of providing an equal opportunity is correspondingly low to the scope and effect

of Ohio Rev. Code § 9.67. Precourt at 39. Its benefits far outweigh its benefits.

   4. Plaintiffs’ vagueness challenge will still fail.

       The Second Amended Complaint recycles the same vagueness challenge, but then tacks on

questions about the Statute’s applicability. It conflates vagueness with merits questions that can be—

and should be—answered in the state court case. For example, the Proposed Plaintiffs ask “whether

[the Modell Law’s] requirements are triggered when the Browns have complied and will comply with

all game usage obligations of the lease agreement”; “what agreements can satisfy its requirement of

an ‘agreement with the political subdivision permitting the team to play most of its home games

elsewhere’”; “the nature and timing of financial assistance the Browns must receive for their owner

to be subject to the Modell law”; “the standard for determining the time of ‘the owner’s intention to

cease playing most of its home games at the facility’”; and “the nature of the required ‘six months’

advance notice’ and the manner in which it can be adequately provided.” Sec. Am. Compl. ¶ 94.

       A statute is not vague simply because a party does not yet know the answer to a merits-based

question. That is what trial courts are for. The Browns cannot credibly claim confusion over how

the Modell Law applies to them, while affirmatively trying to prevent an Ohio court from providing

those answers.

       Turning to the re-hashed vagueness challenge, a law will survive a void-for-vagueness

challenge so long as it provides “‘the person of ordinary intelligence a reasonable opportunity to know

what is prohibited’ and offer[s] clear standards to judges, juries, and police that prevent discriminatory

or arbitrary enforcement.” Stevens v. City of Columbus, 2022 U.S. App. LEXIS 20829 *11 (citing

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)). But “mathematical certainty” in statutory

language is not required and “perfect clarity and precise guidance have never been required even of

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regulations that restrict expressive activity[.]” Stevens 2022 U.S. App. LEXIS 20829 *12, (citing

United States v. Williams, 553 U.S. 285, 304 (2008) (quoting Ward v. Rock Against Racism, 491 U.S.

781, 794 (1989)). Further, “[i]n the absence of legislative intent to the contrary, the plain and ordinary

meaning of the statute controls.” United States v. Edge, 989 F.2d 871, 878 (6th Cir. 1993).

       Ohio Rev. Code § 9.67 does not regulate expressive activity and it is a civil statute. This

matters because “‛[c]ivil laws not implicating the First Amendment are reviewed less stringently than

criminal laws ‘because the consequences of imprecision are qualitatively less severe.’” Stevens, 2022

U.S. App. LEXIS 20829 *13 (quoting Hoffman Estates v. Flipside, 455 U.S. 489, 498 (1982)). Thus,

“[c]ourts [] typically consider only as-applied challenges to civil laws.” Id. (citing Belle Maer Harbor

v. Charter Twp. Of Harrison, 170 F.3d 553, 557 (6th Cir. 1999); see also, Burch v. USDA, 174 F.

App’x. 328, 333 (6th Cir. 2006) (quoting, United States v. Mazurie, 419 U.S. 544, 550 (1975)

(“‘vagueness challenges to statues which do not involve First Amendment freedoms must be

examined in the light of the facts of the case at hand.’”)).

       Even then, “regulatory statutes governing business activities, where the acts limited are in a

narrow category, [receive] greater leeway.” Burch, 174 F. App’x. 328 * 12 (quoting Papachristou v.

City of Jacksonville, 405 U.S. 156, 162 (1972)). Economic regulation is subject to a less stringent

vagueness test “because its subject matter is often more narrow, and because businesses, which face

economic demands to plan behavior carefully, can be expected to consult relevant legislation in

advance of action.” Id. (quoting Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455

U.S. 489, 498, (1982)). These businesses “may have the ability to clarify the meaning of the

regulation by its own inquiry, or by resort to an administrative process. Hoffman Estates, 455 U.S. at

498.

       The Modell Law is narrow. It applies only to 1) professional sports teams; 2) that use a

taxpayer-supported facility for most of their home games and receive financial assistance from the

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state or political subdivision; and 3) who want to begin playing most of their home games somewhere

other than the facility. These businesses have the perfect opportunity to clarify its meaning before

they accept public funding. Their failure to do so does not make the Statute unconstitutionally vague.

       Nonetheless, the Second Amended Complaint strings together some of the same vagueness

challenges that fail in the First Amended Complaint. Specifically, it questions the lack of a definition

of the “area” in which a “group of individuals” must reside to be given the “opportunity to purchase

the team”.    The meaning of “reside in the area” is easy to understand and withstood an identical

challenge in Precourt. There, the court recognized that the term “area” is used in connection with

“political subdivision” and these words must be read in context, as Ohio law requires. Precourt at 50

(citing Ohio Rev. Code § 1.42). Read together, a person of ordinary intelligence would understand

this to mean the area around the City of Cleveland.

       “Opportunity to purchase” is equally clear. “Read in context, the phrase is clearly read by an

individual of ordinary intelligence to mean a chance to buy.”          Precourt at 49. The Statute’s

“opportunity to purchase” requirement is straightforward, and is one used by courts in interpreting

contracts.   See United States ex rel. Martin v. Hathaway 63 F.4th 1043, 1055 (6th Cir. 2023)

(interpreting “remuneration” as including the opportunity to purchase company stock); SEC v. G.

Weeks Secur., Inc. 678 F.2d 649, 652 (6th Cir. 1982) (stating a firm commitment contract offers the

buyer the opportunity to purchase a commodity at some point in the future at or near current prices).

Any other questions about how to satisfy the “opportunity to purchase” requirement can be easily

answered in the state court case. See e.g. Sec. Am. Compl. ¶ 94.

       So too can the Proposed Plaintiffs’ questions regarding the nature and timing of financial

assistance that trigger the Modell Law. Id.     Regardless, a person of ordinary intelligence would

understand “financial assistance” to include the taxpayer support that the Browns admitted they will

receive through 2028. See First Am. Compl. ¶ 3 (stating that upon expiration of the Lease, “nor will

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there be any obligation for there to be taxpayer funds used to support [Huntington Bank Field], the

Browns, or the Team’s use of HBF.”); and see American Heritage Dictionary of the English Language

(5th ed. 2022) (defining “financial” as “of, relating to, or involving finance, finances, or financiers”

and “finances” as “monetary resources”; and “assistance” as “the act of helping” or “aid; help”).

          Finally, the Modell Law is an ‘either/or’ statute. The owner of a team can either enter into an

agreement with a political subdivision permitting it to play the majority of its home games elsewhere

and satisfy Ohio Rev. Code § 9.67(A); or it can give notice of its intention to move and an opportunity

to purchase under Ohio Rev. Code § 9.67(B). The City and the Browns do not have an agreement

under Ohio Rev. Code § 9.67(A). Thus, that subsection has no application in this case and the

Proposed Plaintiffs cannot challenge it on vagueness grounds. Id. ¶ 94; see Warth v. Seldin, 422 U.S.

490 (1975) (a party must generally assert his own legal rights and cannot rest his claim to relief on

the legal rights and interests of third parties).

          A law is not vague simply because parties disagree—and ultimately litigate—whether it has

been satisfied. The Proposed Plaintiffs cannot create ambiguity by conflating their merits-based

claims with their constitutional ones. The Cuyahoga County Common Pleas Court is poised to answer

their merits-based challenges and a person of ordinary intelligence can easily understand what is left.

    IV.      CONCLUSION

          It is not efficient to permit an amendment which poses dispositive questions of state law that

can be (and should be) decided in the pending state court action. That is particularly true here, where

the amended complaint also fails to state a cognizable federal claim. The most efficient—and legally

sound—approach is to apply Pullman and permit the Ohio court decide the novel issues of Ohio law

that the Browns present. If the Browns are correct, and their actions neither trigger nor violate the

Modell Law, this Court will be left with nothing to do. That is efficiency. For the foregoing reasons

the Plaintiff’s Motion for Leave to Further Amend the Complaint should be denied.

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Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing was filed electronically on the 1st day of April,

2025. Notice of this filing will be sent to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.


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